                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TENNESSEE


                                          SETTLEMENT NOTICE




Case Number                                      1-09-cv-260
Style of Case                                    Steven Stewart v Thyssenkrupp Waupaca, Inc., et. al.
Trial Date
Case reported settled by                         Attorney Stephanie Barnes
Did parties participate in mediation?            No
Did parties participate in arbitration?          No
Date of Notice                                   12/8/09
Notice Received by                               s/Sheila Hendrix




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